                    IN THE UNITED STTESE DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        EASTERN DIISION AT COLUMBUS

United States of America,                   :

                Plaintiff                   :      JUDGE WATSON

       -vs-                                 :      Case No. 2:21-CR-239

Kevin Daniels                .              :



                   DEFENDAN KEVIN DANIELS’ MOTION FOR
                   CONTINUANCE OF THE JURY TRIAL DATE



       Now comes Defendant Kevin Daniels, by and through counsel, and respectfully

request a continuance of the Trial Date scheduled for Monday February 7, 2022 at 9:00

a.m. The reasons for this request are set forth more fully in the attached Memorandum

in Support.

                                            Respectfully submitted:

                                            /S/ Susan Pettit
                                            Susan Pettit         (0067613)
                                            713 S. Front Street
                                            Columbus, OH 43206
                                            Telephone No: (614) 596-2889
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                            MEMORANDUM IN SUPPORT


       This Court has scheduled the Trial Date for this matter on February 7, 2022.

Counsel is requesting a continuance of this date because after reviewing all discovery

provided, counsel has been unable to meet with Mr. Daniels. Mr. Daniels is housed in the




                                           1
Franklin County Workhouse. Due to the overwhelming number of Covid-19 cases in the

Franklin County Jail and Workhouse, professional visits had been limited to non-contact

visits. However, counsel has recently learned that Mr. Daniels has been placed on “move

restriction” for an estimated 14 days. Consequently, Mr. Daniels has not had the ability

to discuss the discovery with counsel. As a result, counsel and the AUSA Sheila Lafferty

have not been able to discuss the possibilities of resolving this matter short of trial.

       Counsel has spoken with Assistant U.S. Attorney Sheila G. Lafferty, and she does

not oppose this continuance. Also, counsel for the government has several trials

scheduled through late in April to early in May 2022. If the Court directs, counsel can

have a meeting to discuss trial dates.

       WHEREFORE, counsel for Defendant Kevin Daniels requests a continuance of

the Trial Date of Monday, February 7, 2022 at 9:00 a.m. This continuance will not

disadvantage the defendant and would be in the best interest of judicial economy.

Counsel has not been able to discuss this continuance with Mr. Daniels because of his

restricted status at the Franklin County Workhouse.

                                               Respectfully submitted:

                                               /S/ Susan Pettit
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                                               2
                           CERTIFICATE OF SERVICE

       Counsel hereby certifies that a true copy of the foregoing Motion for Continuance
was served the14th day of January, 2022, electronically on the Assistant U.S. Attorney

                                           /S/ Susan Pettit
                                           Susan Pettit         (0067613)
                                           Counsel for Defendant Kevin Daniels




                                           3
